
650 S.E.2d 597 (2007)
ALLSTATE INSURANCE COMPANY
v.
Elizabeth Chaney STILWELL, Administratrix of the Estate of Dennis Ray Stilwell, Jr., deceased; GMAC Insurance Management Corporation; Dennyse Rayanne Nicole Stilwell, a Minor.
No. 62P07.
Supreme Court of North Carolina.
August 23, 2007.
Lawrence D. McMahon, Robert K. Denton, Morganton, for Elizabeth Stilwell.
John P. Barringer, Keith B. Nichols, Charlotte, for Allstate Ins. Co.
Prior report: ___ N.C.App. ___, 639 S.E.2d 107.

ORDER
Upon consideration of the petition filed on the 2nd day of February 2007 by Defendant (Elizabeth Stilwell) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 23rd day of August 2007."
Justices HUDSON and MARTIN recused.
